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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                      BIG STONE GAP DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                                               )      Case No. 2:20CR00009
                                               )
 v.                                            )    OPINION AND ORDER
                                               )
 PHEATHINE QUINN,                              )      JUDGE JAMES P. JONES
                                               )
                                               )
                  Defendant.                   )

      Christine M. Hummert, Special Assistant United States Attorney, Abingdon,
Virginia, for United States; Monica D. Cliatt and Benjamin M. Schiffelbein,
Assistant Federal Public Defenders, Roanoke, Virginia, for Defendant.

      In this criminal case, the defendant has filed a motion to dismiss the

Indictment based on the government’s failure to preserve potentially exculpatory

video evidence, in violation of the Due Process Clause of the Fifth Amendment.

Because I find that the government did not act in bad faith, I will deny the

defendant’s motion.

                                        I.

                                A. BACKGROUND.

      The defendant, Pheathine Quinn, is charged in a five-count Indictment with

assault with intent to commit murder, in violation of 18 U.S.C. § 113(a)(1) (Count

1), assault with a dangerous weapon with intent to commit bodily harm, in violation

of 18 U.S.C. § 113(a)(3) (Count 2), assault resulting in serious bodily injury, in
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violation of 18 U.S.C. § 113(a)(6) (Count 3), forcibly assaulting, resisting, opposing,

impeding, intimidating, and interfering with a prison guard while the guard was

engaged in official duties, in violation of 18 U.S.C. §§ 111(a)(1), (b) (Count 4), and

possession of a prohibited object, a weapon, in violation of 18 U.S.C. § 1791(a)(2),

(d)(1)(B) (Count 5). The defendant has filed a motion to dismiss the Indictment,

alleging a due process violation based on the government’s failure to preserve certain

video evidence that he alleges had potentially exculpatory value. Specifically, the

defendant argues that the government acted in bad faith by failing to take all possible

steps to preserve the evidence.

      Under the due process clause, the Supreme Court has developed “what might

loosely be called the area of constitutionally guaranteed access to evidence.”

California v. Trombetta, 467 U.S. 479, 485 (1984). “[T]o the extent the Constitution

imposes a duty upon the government to preserve evidence, ‘that duty must be limited

to evidence that might be expected to play a significant role in the suspect’s

defense.’”   United States v. Matthews, 373 F. App’x 386, 390 (4th Cir. 2010)

(unpublished) (quoting Trombetta, 467 U.S. at 488–89). In determining whether due

process has been denied, the Court has drawn distinctions between exculpatory and

potentially exculpatory evidence. Due process is violated if the evidence has

‘“exculpatory value that was apparent . . . before the evidence was destroyed,’” and




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is ‘“of such a nature that the defendant would be unable to obtain comparable

evidence by other reasonably available means.’” Id. at 390.

          If the evidence is only ‘“potentially exculpatory,’” or “potentially useful,”

however, there is no denial of due process unless the defendant can establish that the

government acted in bad faith in destroying the evidence. Arizona v. Youngblood,

488 U.S. 51, 57–58 (1988). Bad faith “must necessarily turn on the [government’s]

knowledge of the exculpatory value of the evidence at the time it was lost or

destroyed.” Id. at 56–57. But “[m]ere negligence on the government’s part in failing

to preserve such evidence is inadequate for a showing of bad faith.” Matthews, 373

F. App’x at 390 (citation omitted). “As negligence is insufficient for bad faith, it

would follow that mere, non-negligent inadvertence would also not constitute bad

faith.”     United States v. Thompson, 584 F. App’x 101, 104 (4th Cir. 2014)

(unpublished).

                                  B. FINDINGS OF FACT.

          An evidentiary hearing on the motion was held on November 22, 2021. The

sole witness was Special Investigation Services (SIS) Agent Jamie Canfield (Agent

Canfield), who is employed at the United States Penitentiary Lee (USP Lee), located

in this judicial district. The following are my findings of fact as to the Motion to

Dismiss the Indictment. I have considered the rationality and internal consistency




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of his testimony, the extent of detail and coherent nature of the testimony and the

manner of testifying by the witness.

      1.     It is alleged that on October 1, 2019, at USP Lee, the defendant, an

inmate, physically assaulted a prison staff member, Brandon Carlton, with a

homemade shank, causing multiple wounds. At the time, the defendant was housed

in the “K” unit of the prison. There are almost 200 video cameras located through

USP Lee, including in the common areas of every housing unit. There are no

cameras in the “staff alley,” which is the cross-over space that is located adjacent to

the common area in between the different housing units.

      2.     The cameras located in the K-housing unit were positioned with the

broad view of the common area. At approximately 1:00 p.m., inmates in K-housing

unit were secured in their cells due to other inmates being found in possession of

narcotics. During that time, it is alleged, the defendant was kicking on his cell door,

and staff went to speak with him. About five minutes later, all the inmates were

released into the common areas. After leaving his cell, the defendant immediately

went to speak with Carlton; they went into the staff alley, at which point the

defendant allegedly assaulted Carlton. The assault itself was not captured on video,

as there are no cameras in the staff alley. The cameras only captured video of the

events leading up to the assault.




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      3.     A few days after the assault, Canfield and other prison officials

reviewed the video of the K-housing unit during the time period just prior to the

assault. Canfield ordered that the recording be downloaded to the video recording

system’s hard drive. He believed that the footage might be relevant in a future

prosecution. He did not do a “screen grab” of the recording. A “screen grab” is a

digital recording of a computer screen video; it is a separate way to preserve video

footage.1

      4.     In May 2019, officials became aware of issues with the prison’s video

recording system. In September 2019, the government awarded a contract to update

the system, including replacement of its outdated hard drives. In February 2020,

during the changeover to the new system, all remaining video footage downloaded

to the hard drives was transferred to a single hard drive; the rest were “wiped,” that

is, erasing the data and making it irrecoverable.2    The preserved hard drive was

stored in SIS’s evidence room.

      5.     At some point after the transfer, Agent Canfield attempted to review

video evidence saved to that hard drive, but he discovered that it was gone. The

video footage was likely saved to another hard drive, which was inadvertently wiped



      1
           Also known as “screenshot” or “screen capture.” Wikipedia, Screeshot,
https://en.wikipedia.org/wiki/Screenshot (last visited Dec. 2, 2021).
      2
        The process is described in Wikipedia, Data erasure, https://en.Wikipedia.org
/wiki/Data_erasure (last visited Dec. 2, 2021).
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by the prison’s computer services following the switchover. As a result, all of the

footage from October to December 2019 was lost, including the footage from the K-

housing unit on October 1, 2019.

                                          III.

      Based upon these facts, and crediting Canfield’s testimony, I find that the

defendant’s due process rights were not violated by the government’s destruction of

the video evidence. There is nothing before me to suggest that when the video tape

evidence was destroyed, it was apparently exculpatory to prison officials. It did not

show the assault itself. Nor does it appear that the video would disprove the

recollection of Canfield and several other prison officials who viewed the video prior

to its destruction. In any event, there is no evidence that the lost video is central to

the case. Canfield requested that the footage be saved to the hard drive because he

thought it was relevant, or that it might be useful in the prosecution of the case, but

not because it contained exculpatory evidence that was apparent to him. In fact,

while he could have taken a screen grab of the footage, he did not do so, which

further indicates that, if anything, he viewed the footage to be only marginally

relevant.

      Under Trombetta and Youngblood, the destruction of potentially useful

evidence violates due process only if the government acted in bad faith. Here, I do

not find that the government acted in bad faith. There is no evidence that the footage


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was intentionally destroyed. Rather, the destruction of this evidence is more fairly

characterized as inadvertent, or, at worst, negligent. The prison officials believed

that the footage was, in fact, being retained during the system upgrade and that

nothing was being lost by wiping the remaining hard drives. Unfortunately, the

wrong hard drives were erased. Nevertheless, “[m]ere negligence” does not rise to

the level of bad faith, let alone “non-negligent inadvertence.” Matthews, 373 F.

App’x at 390; Thompson, 584 F. App’x at 104. Therefore, Quinn’s challenge under

Youngblood fails.

                                        IV.

      For these reasons, it is ORDERED that the defendant’s Amended Motion to

Dismiss the Indictment, ECF No. 69, is DENIED.



                                              ENTER: December 2, 2021

                                              /s/ JAMES P. JONES
                                              Senior United States District Judge




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